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                          CONTINUATION OF CRIMINAL COMPLAINT

       1.      I, Todd J. Wilton, am a Special Agent (SA) with the Department of Homeland

Security (DHS), Homeland Security Investigations (HSI), Sault Ste. Marie, Michigan, and have

been so employed since October of 2008. Previous to that, I was employed with the U.S.

Customs and Border Protection/Office of Field Operations (CBP/OFO) as an Officer for five

years. During my career, I have conducted and participated in numerous child exploitation and

child pornography investigations including violations pertaining to the illegal production,

distribution, receipt, and possession of child pornography. I have received training in the area of

child pornography and child exploitation, and I have had the opportunity to observe and review

numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in many forms of

media, including computer media. The following facts and circumstances are based on my

personal knowledge, as well as the investigations of other law enforcement officers. The

following facts are intended to set forth probable cause to believe that Christopher

MASTERSON committed violations of federal law, that is, attempted production of child

pornography contrary to 18 U.S.C. § 2251(a) and (e), and commission of a felony offense with a

minor while required to register as a sex offender contrary to 18 U.S.C. § 2260A.

       2.      On December 3, 2018, the Sault Tribal Police, Sault Ste. Marie, Michigan

responded to a “health and safety” complaint. Upon arrival, the Officers met with the residents

to include a mother and her then 14-year-old daughter (hereinafter referred to as MV-1, with a

date of birth in 2004). The mother stated that an adult male identified as “Chris” was conversing

with MV-1 on the Snapchat social media platform via her cellular telephone. MV-1 stated that

“Chris” is 31 years of age, resides in North Carolina and has communicated with her via social
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media for months. MV-1 stated that “Chris” initially met her on the “Live.me” social media

platform.

       3.     On December 12, 2018, MV-1’s mother voluntarily provided consent for law

enforcement to conduct a forensic analysis of MV-1’s telephone and to access/search MV-1’s

Snapchat account. Upon review of the account, I discovered communications between MV-1

and from someone identified with a handle ending in “mas0328.”

       4.     On October 4, 2019, MV-1’s mother met with the Sault Tribal Police and stated

that “Chris” had continued contact with MV-1 for months. MV-1’s mother stated that “Chris”

sent MV-1 a cellular telephone to her residence. MV-1 was now 15 years of age. The Sault

Tribal Police responded to MV-1’s mother’s residence, collected the telephone and the box used

for shipping. The shipping label on the box depicts the following information:

              a.      A ten digit origin ID ending in -6505

              b.      Christopher Masterson

              c.      A known address on Tree Circle, Myrtle Beach, South Carolina 29575

              d.      Ship Date: October 2, 2019

              e.      To: MV-1’s first and last names

              f.      MV-1’s residential address

       5.     The Sault Tribal Police identified Christopher James MASTERSON as registered

on the South Carolina Sex Offender Registry (SOR) and determined that his address on the

shipping label matched his registered address on the SOR. The SOR indicates that

MASTERSON is the owner of a Chevrolet C/K 1500 pickup truck bearing a South Carolina

license plate with registration number ending in -449. The SOR also indicates that

MASTERSON was convicted on January 14, 2008, in the state of Illinois for “Aggravated



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Criminal Sexual Abuse / Victim Less Than 13” for which he was sentenced to four years’

imprisonment and on July 16, 2013, in the state of Illinois for Fail to Report Address Change.

       6.      On October 19, 2019, I was contacted by MV-1’s mother who stated that MV-1

refers to MASTERSON by his initials “CJ” (Christopher James) and that MASTERSON has had

continued contact with MV-1 via telephone and social media since she was 13 years of age.

MV-1’s mother stated that MASTERSON was currently in route to Sault Ste. Marie, Michigan to

meet and engage in sexual conduct in violation of Michigan law with MV-1 who was then 15

years of age. Michigan law mandates that the age of consent for engagement in sexual activity is

16 years. MV-1 stated that “I love him with all of my heart” and “I know I’m addicted to him.”

Afterward, the Sault Tribal Police and I encountered MASTERSON in Sault Ste. Marie,

Michigan, with the truck previously identified in paragraph 5 above. During a noncustodial

interview, MASTERSON stated that he drove from South Carolina to Michigan to meet MV-1.

MASTERSON identified MV-1’s siblings by their names and stated that he has conversed with

them in the past. MASTERSON’s responses to questions asked indicated that he has conversed

with MV-1 and her siblings for an extended period of time.

       7.      On October 29, 2019, an HSI Victim Assistance Specialist (VAS) conducted a

forensic interview of MV-1 when she was 15 years of age. During the interview, MV-1 stated

that she identified MASTERSON as “CJ” because his first and middle names are Christopher

James as documented in paragraph 6 above. MV-1 stated that MASTERSON initially conversed

with her via her “Live.me” account affiliated with a known identifier. This identifier is an email

account issued by MV-1’s elementary/middle school. MV-1 stated that MASTERSON later

created an account for her on the Kik Messenger social media platform affiliated with a known

account where they conversed and initiated a boyfriend/girlfriend relationship when she was 13



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years of age. MV-1 stated that MASTERSON and she agreed to keep their relationship a secret

from her mother. MV-1 stated that MASTERSON wanted to engage in sexual conduct with her.

MV-1 stated that MASTERSON requested nude pictures of her for his sexual gratification and

sent her nude pictures of his erect penis. MV-1 stated that she complied and sent a nude picture

of herself to MASTERSON when she was 13 years of age via her email account. MV-1 stated

that this picture depicts her exposed breasts and genitalia. MV-1 stated that MASTERSON

requested more nude pictures of her when he was “horny” and wanted to masturbate. MV-1

stated that MASTERSON and she transitioned to Snapchat and telephone calls when she was 14

to 15 years of age. MV-1 identified her account on Snapchat and MASTERSON’s account as

the one ending in “mas0328” documented in paragraph 3 above. MV-1 stated that they later

transitioned to Facebook Messenger and conversed via Facetime video calls. MV-1 identified

her Facebook Messenger account as her first and last names in conjunction with her identified

Gmail account. MV-1 stated that MASTERSON asked her to masturbate during a video call

with her hairbrush or “sex toys.” MV-1 stated that she complied and masturbated with a

hairbrush while MASTERSON watched. MV-1 stated that MASTERSON purchased the

telephone that he shipped to her residence for her, which is discussed in paragraph 4. MV-1

stated that MASTERSON downloaded his email account onto this telephone and that it

contained pornography to include pictures of his exposed penis. MV-1 identified one of

MASTERSON’s email accounts as a Gmail account ending in “ryan0328@gmail.com.” MV-1

stated that MASTERSON wanted to engage in sexual conduct with her, so he purchased two

“sex toys” for her when she was 15 years of age. MV-1 stated that MASTERSON showed her

the “sex toys” during a Facetime video call and placed them within his truck. MV-1 stated that

MASTERSON travelled to Michigan to engage in sexual conduct with her as documented in



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paragraph 6 above. MV-1 positively identified MASTERSON from a copy of his picture on the

South Carolina sex offender registry. Upon the conclusion of the interview, MV-1’s mother

discovered a piece of paper within MV-1’s bedroom that indicated an additional Facebook

account identified with a known identifier ending with initials SP and an associated Gmail

account . The Sault Tribal Police and I later returned to MV-1’s mother’s residence. MV-1

stated that MASTERSON made her and her younger sister (hereinafter referred to as MV-2)

“rub” each other’s genitalia at their mother’s and at their grandparents’ residences when MV-2

was nine years of age while he watched via Facetime video calls.

       8.      On June 18, 2020, an HSI Forensic Interview Specialist (FIS) conducted a

forensic interview of MV-2 (whose date of birth is in 2010) when she was ten years of age.

During the interview, MV-2 stated that she also identified MASTERSON as “CJ” as documented

in paragraphs 6 and 7 above. MV-2 stated that MASTERSON converses with MV-1 via

Facebook. MV-2 identified MASTERSON’s Facebook account. MV-2 stated that

MASTERSON communicates with MV-1 via her Facebook accounts. MV-2 stated that

MASTERSON and MV-1 were conversing via a facetime video call, and he had MV-1 bring her

into a bathroom when she was seven or eight years of age. MV-2 stated that MASTERSON had

MV-1 remove their clothes while he watched and touched his penis. MV-2 stated that

MASTERSON also had MV-1 and her rub their own and each other’s genitalia with their fingers

on approximately two occasions at their grandparents’ residence when she was eight or nine

years of age while he was nude and watching via Facetime video calls. MV-2 stated that on

another occasion, she was present when MV-1 was conversing with MASTERSON via a video

facetime call when MV-1 was in a bathtub nude. MV-2 observed MASTERSON via Facetime

video calls and described him as an adult Caucasian male.



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       9.      Upon conclusion of the forensic interview of MV-2, her mother voluntarily

relinquished a cellular telephone that she recently obtained from MV-1. Their mother displayed

electronic messages on Facebook Messenger between MASTERSON via his Facebook account

discussed in paragraph 8 above and MV-1 via her SP account identified in paragraph 7 above. In

a conversation dated June 16, 2020, MASTERSON attempted to get MV-1 to engage in sexual

acts with her sister, MV-2, and to live stream the video of those acts via Facetime. The

following are excerpts from the conversation:

               a.      MASTERSON: “I tried to get pussy from you and you did not give in”.

                                            .   .    .

                       MASTERSON: “I want you to get Dick and you will not sooo”.

                                                .   .     .

                       MV-1: “I will get dick i swear”.

                                            .   .    .

                       MV-1: “next week and from who ever u want ill change just for you i

       swear”.

                                                .   .     .

                       MASTERSON: “I need to cum some how”.

                                                .   .     .

                       MV-1: “i can try when on my month if you want like what i did at my

       dad’s house”.

                                            .   .    .

                       MV-1: “I was on my month last time but i did it anyways”.

                       MASTERSON: “Oh how is [MV-2’s first name] freaky ass”.

                                            .   .    .

                                                6
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                       MASTERSON: “Make her cum”.

                                            .      .   .

                       MASTERSON: “On vc” [video chat] and “I want to watch you finger her

       and eat her”.

                                            .      .   .

                       MASTERSON: “So take the computer to the bathroom and tell her you

       need to talk to her” and “Then u can vc me”.

                                            .      .   .

                       MASTERSON: “Ok go into the bathroom”.

                       MV-1: “but my grandparents are still up”.

                       MASTERSON: “To whisper”.

                       MV-1: “they will see us”.

                       MASTERSON: “How u lock the door”.

                       MV-1: “cuz of the bathroom light” and “from inside of the bathroom”.

                       MASTERSON: “Put something on the floor” and “In front of the door”.

                       MV-1: “they would still see everything [MV-2’s first name] is too loud”.

                                            .      .   .

                       MASTERSON: “block the with a towel in front of the door”.

                       MV-1: “and my gram wakes up everytime she does hear a noise.”

                       MASTERSON: “Turn the fan on”.

                       MV-1: “the towels are in the dryer”.

       10.    Upon conclusion of reviewing the electronic messages, the FIS, VAS and I met

with MV-1 at her grandparents’ residence when she was 16 years of age. MV-1 stated that

MASTERSON and she have been “dating” for two or three years since she was 13 years old, and

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that MASTERSON was aware of her age. MV-1 stated that MASTERSON electronically

communicated with her on Facebook via electronic messages on her SP Facebook account

identified in paragraphs 7 and 9 above from his Facebook account during the previous night.

MV-1 stated that MASTERSON wanted her to make MV-2 “cum” in the bathroom, which is

consistent with the messages discussed in paragraph 9 above, and other occasions even though

she’s ten years of age. MV-1 stated that MV-2 has seen MASTERSON before. MV-1 identified

another Facebook she used which has initials BC.

          11.   On June 19, 2020, I reviewed the content of the Facebook account identified as

BC identified in paragraph 10 above. The content includes electronic messages between

MASTERSON via his Facebook account discussed above and MV-1. MV-1 stated that “all you

want to do is jack off all fucking night”, “i wish we never fucking dated in the first place i was

13 and you were too fucking old for me anyways” and “we dates for 2 through 3 whole fucking

years”.

          12.   On June 20, 2020, I assumed the online identity of MV-1 via her Facebook

account ending in SP discussed above and initiated contact with MASTERSON via his Facebook

account discussed above. During the conversation, MASTERSON again attempted to have MV-

1 engage in sexual acts with MV-2, her sister, and live stream the video via Facetime. The

following are excerpts of messages from the conversation:

                a.     Affiant: “what do you want to do”.

                       MASTERSON: “To cum”.

                                             .    .   .

                       Affiant: “i’m at my grandparents house”.

                                             .    .   .

                       MASTERSON: “So I guess no vc with you then”.
                                                 8
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                 Affiant: “maybe if im quiet but [MV-2’s first name] is awake”.

                 MASTERSON: “So I d c if she plays to tbh”.

                                       .    .   .

                 MASTERSON: “Her pussy is fire too”.

                                       .    .   .

                 MASTERSON: “Can you vc”.

                 Affiant: “my grandma was just in the bathroom i better wait a little while”.

                                            .   .

                 MASTERSON: “If you are both quite it will be ok”.

                                       .    .   .

                 Affiant: “are u going to want the same as the other times”.

                 MASTERSON: “I d k thought about more”.

                 Affiant: “what did you like before”.

                 MASTERSON: “I liked it when you finger her” and “And she did it to

                 you”.

                                       .    .   .

                 MASTERSON: “Would you”.

                 Affiant: “do you remember how many times we did that for you”.

                 MASTERSON: “Once”.

                 Affiant: “i’m going to have to talk her into it”.

                                       .    .   .

                 MASTERSON: “Oh ask her if my dick makes her hot”.

                                       .    .   .

                 MASTERSON: “I say go to the bathroom”, “Lock the door”, “Lot safer”

                                            9
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                 and “And quite”.

                 Affiant: “a little longer i’m trying to get her to do it” and “will we see your

                 dick again”.

                 MASTERSON: “Call and find out”.

                                        .   .    .

                 Affiant: “my grandma is moving around in her bed”.

                 MASTERSON: “Just tip toe quietly”.

                                        .   .    .

                 Affiant: “[MV-2’s first name] is being a pain”.

                 MASTERSON: “Tell her it will be worth it”.

                 Affiant: “she wants to know what u want her to do”.

                 MASTERSON “I want her to go to the bathroom with you for a start” and

                 “Then you call second”.

                                        .   .    .

                 Affiant: “i already told her she wants to know what you want to do” and “i

                 think she’ll do it”.

                 MASTERSON: “Omg look I am not going to tell her without being on vc

                 with you noth” and “Both”.

                                        .   .    .

                 Affiant: “if u want me to finger [MV-2’s first name] i will”.

                 MASTERSON: “Ok”, “Call on vc” and “Rn” [right now].

                                        .   .    .

                 Affiant: “she wants to know what she’ll do”.

                 MASTERSON: “Call rn”.

                                            10
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                 Affiant: “she’ll go into the bathroom if i tell her”.

                 MASTERSON: “And I will talk to her”.

                                        ..   .    .

                 MASTERSON: “Just call” and “Or I will”.

                                        .    .    .

                 MASTERSON: “I am calling”.

                                        .    .    .

                 Affiant: “my grandmother is going to hear me”.

                                        .    .    .

                 MASTERSON: “Ok I am calling one last time”.

                                        .    .    .

                 MASTERSON: “Now or never ever” and “Got tht”.

                 Affiant: “[MV-2’s first name] wants to go to sleep she said”.

                 MASTERSON: “Ok so then just you”, “W.E.”, “I am going to call rn”,

                 and “You might want to answer it”.

                                        .    .    .

                 MASTERSON: “Please delete the chat”.

                                        .    .    .

                 MASTERSON: “Better yet what is the password and email” and “Then

                 you can change it after I chevk to see if our is gone”.

                                        .    .    .

                 MASTERSON: “I am looing out”.

                                        .    .    .

                 Affiant: “it’s deleted I love u”.

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       13.     On April 25, 2021, I encountered MASTERSON and MV-1 walking together in

Sault Ste. Marie, Michigan. MV-1’s mother arrived and transported MV-1 to their residence.

MASTERSON departed the area on his own recognizance. I responded to MV-1’s residence and

conducted a minimal facts investigative interview. MV-1 was in possession of a cellular

telephone. MV-1 stated that MASTERSON purchased the telephone for MV-1 via her Amazon

account so the shipping label would indicate her contact information instead of his own. MV-1

stated that MASTERSON arrived in Sault Ste. Marie, Michigan in January or February of 2021

and that he “been here for months upon months.” MV-1 stated that MASTERSON has been

residing in his truck primarily throughout Chippewa County, Michigan for numerous days. MV-

1 stated that MASTERSON’s truck was inoperable, and she identified its location in Dafter,

Michigan. Upon arrival, I observed MASTERSON’s truck bearing the South Carolina license

plate with registration number ending in -449 as discussed in paragraphs 5 and 6 above in a

remote secluded area. On April 28, 2021, the Chippewa County Sheriff’s Office (CCSO)

identified an opened box of pregnancy tests on the floor of the front passenger side seat of

MASTERSON’s truck. On May 3, 2022, I conducted a custodial interview of MV-1 who stated

that MASTERSON engaged in sexual intercourse with her on two separate occasions since his

arrival in 2021 on their birthdays in March and April. MASTERSON confirmed that he had

initially met MV-1 on a web site called “Live.me”. He admitted to continuing to converse with

her over the years. MASTERSON said that MV-1 was about 14 when he first met her and that

MV-2 was now 10 or 11 years old. MV-1 stated that MASTERSON purchased the box of

pregnancy tests for her to determine if she was pregnant.

       14.     Federal and state laws mandate that registered sex offenders comply with

registration requirements. The South Carolina SOR identifies MASTERSON as an “Adult Tier



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III” offender which requires him to register for life and quarterly verify registration information.

On May 5, 2021, I obtained an arrest warrant in the State of Michigan for MASTERSON for

violations of Michigan Compiled Laws (MCL) 28.729 (1)(a) – Sex Offenders – Failure to

Comply with Registration Act for failing to register as a sex offender in Chippewa County,

Michigan within seven consecutive days. On May 6, 2021, I placed MASTERSON under arrest.

I conducted a custodial interview of MASTERSON and he admitted that he engaged in sexual

intercourse with MV-1 on two separate occasions since his arrival to Michigan in 2021.

MASTERSON subsequently pleaded guilty in the state of Michigan for failing to register as a

sex offender and his sentencing is currently scheduled for May 10, 2022.

       15.     Based upon the above information, I respectfully submit that there is probable

cause to believe that on June 16 and 20, 2020, Christopher MASTERSON: 1) attempted to use,

persuade, and entice a minor to engage in sexually explicit conduct for the purpose of

transmitting a live visual depiction of such conduct using a means or facility of interstate

commerce after having been convicted of an offense involving aggravated sexual abuse

involving a minor in violation of Title 18, United States Code, Section 2251(a) and (e); and 2)

commission of a felony offense with a minor while required to register as a sex offender, that is,

the offenses described above under 18 U.S.C. 2251(a) and (e), in violation of Title 18, United

States Code, Section 2260A.




                                                 13
